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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



 __________________________________
                                             )
                                             )
      Rodney Lail, et al.,                   )
                                             )
            Plaintiffs,                      )
                                             )     C.A. No. 10-CV-210-PLF
                   v.                        )
                                             )
      United States Government, et al.,      )
                                             )
                                             )
            Defendants.                      )
                                             )                  EXHIBIT “B”
                                             )
                                             )




               AFFIDAVIT OF NICHOLAS C. WILLIAMSON

      I Nicholas C. Williamson, hereby declare under the penalty of perjury the
following based on my personal knowledge:

      1. I am over the age of eighteen years and I am competent to testify.

      2. On October 30, 2001, based on the advice of Haywood Starling, the

         former long term head of the North Carolina State Bureau of

         Investigation, I contacted FBI-SSRA Donald Causey of the Greensboro

         office of the FBI to file a complaint regarding my being a victim of civil


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   rights crimes “under color of law” crimes and other crimes involving

   local law enforcement officers. (See Attachment “One” attached

   hereto.)

3. On November 20, 2001, I sent in a letter of complaint regarding the

   various crimes based on the advice of Haywood Starling, the former

   Director of the NCSBI and copied FBI SA Phil Celestini who had been

   assigned my case by FBI-SSRA Causey. (See Attachment “Two”

   attached hereto)

4. On January 4, 2002, after having several telephone conversations with

   Defendant SA Phil Celestini, and not hearing anything in response I sent

   a letter to SA Phil Celestini and SSRA Causey asking for information on

   the status of the complaint. (See Attachment “Three” attached hereto).

5. During or about late January, 2001, Haywood Starling, the former

   Director of the North Carolina State SBI and I met with Defendant SA

   Phil Celestini and discussed the misuse of the NCIC system for

   commission of civil rights crimes “under color of law” and the deal to

   erase a criminal record of a former coed student of mine, among other

   crimes of law enforcement personnel with and under the direction of now

   self confessed and convicted felon Harold Steve Hartness.




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6. Defendant SA Phil Celestini was told by Mr. Starling this was the worst

   case of police corruption and crimes “under color of law” he had ever

   seen and the first involving the criminal use of the FBI-NCIC system.

7. After weeks of not hearing from Defendant Phil Celestini as promised

   regarding the status of my complaint, on February 20, 2002, I wrote a

   letter to SAC Chris Swecker in Charlotte, North Carolina to try and get

   some answers. (See Attachment “Four” attached hereto with

   certified mail receipts.)

8. Within a short period after I sent the letter to Defendant SAC Chris

   Swecker, I received a long overdue telephone call from Defendant FBI

   SA Phil Celestini.

9. Defendant Celestini told me he met with the local AUSA who decided

   this case was not to be investigated.

10. I asked Defendant Celestini why my civil rights violations under color of

   law would not be investigated, Celestini characterized it in these words,

   “...[L]ook at it this way, everybody speeds, but not everybody gets a

   speeding ticket.”

11. Defendant Celestini told me the local AUSA had final word and there

   was nothing he [FBI SA Phil Celestini] could do with it.




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12. At that point Celestini ended the call and I never heard from Defendant

   Celestini again.

13. I met in Washington DC on June 18, 2004, with James Galyon, Majority

   Counsel for the Senate Committee on the Judiciary.

14. During the meeting on June 18, 2004, with James Galyon, Galyon

   contacted the FBI Headquarters in Washington, DC on the telephone and

   put it on the speakerphone so we could all hear the discussion

   [Marguerite Stephens, Ricky Stephens, Tammy Lail, Rodney Lail, James

   Spencer and myself] and reported the civil rights complaints we had

   under color of law that were not investigated to date.

15. Mr. Galyon soon after the meeting on June 18, 2004, notified us that an

   investigator was being assigned to the geographical area to investigate

   the public corruption as they had several other reports of such and

   possible local FBI agent involvement. We were notified the name of the

   investigator was FBI SA Paul Gardner.

16. On June 18, 2004, the group of individual victims and I also met in

   Washington DC, with House Judiciary member Howard Coble, his Chief

   of Staff and an FBI SA Liaison with the House Judiciary Committee and

   we expressed our same concerns. The SA FBI agent present who took




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   notes on our complaint said he would get with the people who handle

   civil rights crimes under color of law and follow up with our complaint.

17. We mentioned that we had spoken to James Galyon earlier in the day

   about the same concerns and that Galyon had contacted the FBI

   Headquarters.

18. The FBI agent present at the Congressman Coble meeting said he would

   follow up with the individuals contacted by Senator Graham’s Office to

   make sure our complaint was handled properly.

19. I met with and filed a civil rights complaint under color of law with FBI

   SA Andrew Hildreth at a meeting with AUSA Marshal Prince on or

   about late July 2005, in Columbia, SC.

20. I met with and filed a complaint of Civil Rights Crimes under color of

   law with FBI SA Paul Gardner during on or about October, 2004 with

   Bruce Benson, Rodney Lail, Doris Holt and James Spencer, in Columbia,

   SC.

21. On or about March 15, 2005, the timeline of events that FBI SA Gardner

   requested I produce was filed with Gardner.

22. I never again heard from FBI SA Gardner or any one from the FBI or the

   Department of Justice pursuant to the civil rights complaints under of law

   that I filed.


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                         CERTIFICATE OF SERVICE

    I hereby certify that on the 7th day of November, 2010, I electronically filed
the foregoing Exhibit “B” of Plaintiffs’ Document No. 69 with the Clerk of Court
using the CM/ECF system, which will then send a notification of such filing (NEF)
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